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                                                              Exhibit A to the Complaint
Location: Bristol, CT                                                                                   IP Address: 174.168.171.239
Total Works Infringed: 30                                                                               ISP: Comcast Cable
 Work           Info Hash                                  UTC                  Site                Published         Registered      Registration
 1              71A5E9F497179C8DE215E0FCEC2BAA40FFD519F3          11/29/2024    Vixen               10/06/2019        10/21/2019      PA0002207778
                                                                     03:32:15
 2              ef2349939932f59f0daceebfe9b0a4844286330d          12/03/2024    Tushy               01/26/2020        02/20/2020      PA0002237626
                                                                     08:26:03
 3              fa7f572694c97f95408f0cff34f74dffc8ca5dc8          10/01/2024    Blacked             03/21/2019        04/17/2019      PA0002186999
                                                                     20:49:42
 4              8859d9e9c2f1d2a5835640c1825695f42fc59631          09/28/2024    Slayed              06/28/2022        07/21/2022      PA0002367493
                                                                     03:04:55
 5              4f5957167044ce22175d033631aca290d58d83b8          09/23/2024    Slayed              09/27/2022        11/27/2022      PA0002388300
                                                                     23:15:17
 6              67b6cae08fe570b325c642e56a7e256e7fa2c698          09/15/2024    Blacked             02/11/2023        03/07/2023      PA0002400311
                                                                     16:11:00
 7              c43d9308e151e025ca4f544362700c2fadb511fe          09/13/2024    Vixen               03/12/2021        03/22/2021      PA0002282506
                                                                     05:49:52
 8              3d44b094f4ef6f6934d35b4d1b7332879f0c8f71          09/13/2024    Vixen               05/14/2021        06/03/2021      PA0002299686
                                                                     05:19:10
 9              3d36e057cbbc836d07733b8b3bbbdfd16e537006          09/07/2024    Tushy               03/05/2023        04/07/2023      PA0002405753
                                                                     23:24:14
 10             32a76fef907bb35bb444ccd83c83fc4e9dac1ed2          09/07/2024    Vixen               02/18/2020        03/18/2020      PA0002241449
                                                                     22:12:53
 11             E6684B688EB24D22565D5CD5A432D5203F0F6169          08/31/2024    Vixen               08/30/2024        09/18/2024      PA0002490438
                                                                     14:32:00
 12             14ec025eb0cc6698c4a435133a11a4a9b3720d9d          08/26/2024    Vixen               02/23/2019        04/29/2019      PA0002169931
                                                                     14:56:44
 13             f430a890e778d085b89445540db6de869e2578b2          08/11/2024    Vixen               02/28/2019        03/31/2019      PA0002163973
                                                                     01:36:53
 14             7375a901d3be6952f99caa1d89017336b02f3765          08/03/2024    Vixen               08/02/2024        08/15/2024      PA0002484855
                                                                     18:07:45
 15             06cf5a1e3a5b9a86a22bc2dd94252e5a30f31787          07/29/2024    Blacked             10/29/2022        01/06/2023      PA0002394016
                                                                     03:17:37
 16             6c077eeff7a7a7694fb32719245810ace589b155          07/22/2024    Blacked             05/21/2022        06/27/2022      PA0002354986
                                                                     05:01:03
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Work   Info Hash                                  UTC                 Site                 Published         Registered   Registration
17     7EEDBB21BB899BB8214503C47CABEFC658F37EB7         07/18/2024    Milfy                07/17/2024        09/05/2024   PA0002491145
                                                           13:52:16
18     94ad8bcd5e3279bd0dacd16433d15bca7ea33155         07/14/2024    TushyRaw             03/12/2024        04/12/2024   PA0002465213
                                                           01:46:37
19     59bb31e5ab8424df1f476269e5d656847944210a         07/08/2024    Blacked Raw          03/25/2024        04/11/2024   PA0002464925
                                                           23:29:26
20     b6b4ebeaabf9f93926eb9567a6c8b9ce06bd8712         06/26/2024    Vixen                09/11/2019        09/25/2019   PA0002203160
                                                           22:47:51
21     5f0908e50a10f7eba4e5d830a08cd09479d3282a         06/21/2024    Blacked              11/21/2019        12/09/2019   PA0002216266
                                                           00:49:37
22     0097423a5a2f81b14a0f995cf3023492f23e9d28         06/13/2024    Vixen                04/05/2024        04/12/2024   PA0002465444
                                                           19:35:49
23     6b335dd3c11f04b5bb30e17a486d2fa3b1f0d0de         06/11/2024    Blacked              01/10/2020        02/04/2020   PA0002225582
                                                           00:44:35
24     551832402f31572979fc872df648e5c89f13d600         06/11/2024    Vixen                02/03/2020        03/15/2020   PA0002240554
                                                           00:23:44
25     C05EEEBAD16C212B22C8731E87140846BE927578         06/09/2024    Vixen                04/09/2017        06/05/2017   PA0002052836
                                                           14:23:02
26     85E80AD7295BD2C5548C493BB62C0E0A85359006         05/27/2024    Milfy                03/06/2024        06/24/2024   PA0002477485
                                                           14:54:09
27     cc1e0962614267a9c5e1a991d55d13ca1525a8be         04/13/2024    Slayed               02/20/2024        03/28/2024   PA0002462498
                                                           04:20:56
28     E66215C7663C7EB92195BCC39A7634B78DDA4DB0         04/09/2024    Milfy                04/03/2024        06/24/2024   PA0002477489
                                                           14:17:20
29     d658f84c28556e69f2ca78df1761d1e2e05b55c6         04/03/2024    Tushy                03/16/2020        04/15/2020   PA0002244959
                                                           15:18:30
30     ffa65416779492f08be0b72f8eec99755386fe63         03/23/2024    Blacked              10/10/2020        10/22/2020   PA0002261812
                                                           00:27:17
